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11                              IN THE UNITED STATES DISTRICT COURT

12                            FOR THE NORTHERN DISTRICT OF CALIFORNIA

13
     IN RE CATHODE RAY TUBE (CRT) ANTITRUST              MDL No 1917
14   LITIGATION
                                                         Master Case No 3:07-cv-05944SC
15   This Order Relates To:
                                                         ORDER RE DIRECT ACTION PLAINTIFFS’
16   DAPs v SAMSUNG SDI, HITACHI AND                     MOTIONS TO COMPEL SAMSUNG SDI,
                                                         HITACHI AND PANASONIC TO
17   PANASONIC                                           AUTHENTICATE DOCUMENTS
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     ORDER RE DAPs’ MOTIONS TO COMPEL SAMSUNG SDI, HITACHI AND PANASONIC
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1                      Certain Direct Action Plaintiffs (“DAPs”) move to compel the Samsung SDI,
2    Hitachi and Panasonic defendants to authenticate documents in response to the plaintiffs’ First
3    Set of Requests for Admissions. See DAPs’ 11/24/14 and 11/26/14 Motions to Compel.1 This
4    order addresses the DAPs’ motions to compel with respect to the Samsung SDI, Hitachi and
5    Panasonic defendants with each factual background considered independently.
6                      This dispute arises out of the DAPs’ First Set of Requests for Admissions served
7    on defendants, which contain requests for admission that documents identified in Exhibit A
8    satisfy requirements of FRE 803(6) and therefore are business records:
9                      REQUEST FOR ADMISSION NO. 3:
10                     Separately for each document identified in Exhibit A, Admit that the document
11   was made at or near the time of the event reflected in the document.
12                     REQUEST FOR ADMISSION NO. 4:
13                     Separately for each document identified in Exhibit A, Admit that the document
14   was made by someone with knowledge of the contents or event reflected in the document.
15                     REQUEST FOR ADMISSION NO. 5:
16                     Separately for each document identified in Exhibit A, Admit that the document
17   was kept in the course of Your regularly conducted business.
18                     REQUEST FOR ADMISSION NO. 6:
19                     Separately for each document identified in Exhibit A, Admit that the document
20   was prepared in the regular course of Your business.
21                     REQUEST FOR ADMISSION NO. 7:
22

23

24            1
                The DAPs request that the Special Master’s ruling on their 10/29/14 motion to compel Toshiba to
     authenticate documents “be applied to Plaintiffs’ identical discovery dispute” with the Samsung SDI, Hitachi and
25   Panasonic defendants. But since the factual backgrounds are different and the DAPs have filed separate letter
     briefs with exhibits in support of their motions, the undersigned will treat these motions as distinct from the DAPs’
26
     motion to compel Toshiba to authenticate documents.
27
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1
                       Separately for each document identified in Exhibit A, Admit that the document
     satisfies Fed. R. Evid. 803(6).2
2
                       The DAPs negotiated with the Samsung SDI, Hitachi and Panasonic defendants to
3
     resolve their concerns regarding the defendants’ responses to the DAPs’ First Set of Requests
4
     for Admissions (“RFAs”). The parties attempted to reach agreements providing that the DAPs
5
     would forego filing motions to compel responses to the RFAs from the Samsung SDI, Hitachi
6
     and Panasonic defendants in exchange for the defendants’ good faith review of certain
7
     documents selected by plaintiffs (usually 150 or less) for authenticity and applicability of the
8
     business records exception under FRE 803(6) and stipulations regarding the same.
9
                       But after seeing the defendants’ stipulations, the DAPs assert that they did not
10
     receive the benefit of the defendants’ good faith review of their documents for applicability of
11   the business records exception of FRE 803(6). Samsung SDI offered to stipulate that five of its
12   122 internal documents and nine documents filed with the Securities and Exchange
13   Commission are business records. DAPs’ 11/24/14 Motion at 1; see also Samsung SDI’s 12/1/14
14   Opposition at 6. Hitachi stipulated that none of its 137 internal documents and ten of its
15   documents filed publicly with the Securities and Exchange Commission are business records.
16   DAPs’ 11/24/14 Motion at 1-2 and 7. And Panasonic has concluded that all but three of its 95

17   documents that the DAPs selected “do not meet the rule’s stringent requirements.”

18   Panasonic’s 12/5/14 Opposition at 1-2.

19                     In opposition, Samsung SDI, Hitachi and Panasonic contend:

20
                       (1) a motion to compel is an improper mechanism for resolving what is an
                           evidentiary dispute rather than a discovery dispute and the Special Master is
21
                           not authorized to adjudicate what is essentially an evidentiary dispute that
22
                           should be addressed by the court in the weeks before trial;
23

24

25            2
               See e g, Ex 2 to Hitachi’s Opposition to Plaintiffs’ Motion to Compel (DAPs’ and IPPs’ First Set of Requests
     for Admission to Hitachi Defendants); see also Ex B to Panasonic’s Opposition (Objections and Responses of
26
     Panasonic Defendants to DAPs’ and IPPs’ First Set of Requests for Admission).
27
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1
                    (2) the DAPs’ motions are improper because (a) the DAPs agreed to forego the
                        right to file a motion to compel on this topic against Samsung SDI, Hitachi
2
                        and Panasonic and (b) the defendants complied with their obligations to
3
                        review their own documents for authenticity and business records
4
                        exceptions and conducted their analyses in good faith;
5
                    (3) the DAPs’ motions are procedurally improper “joinders” because (a) the
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                        Special Master’s order stated that a party may not create a motion by mere
7
                        reference, (b) each of the defendants’ disputes with the DAPs on
8
                        authentication is based on a different set of facts and therefore joinder is
9
                        inappropriate, and (c) each defendant should not be bound by rulings related
10
                        to other defendants on different facts;
11                  (4) the DAPs’ motions are untimely because they were not filed by the
12                      September 12, 2014 deadline for discovery motions; and
13                  (5) the defendants applied FRE 803(6) properly. See e g, Samsung’s 12/1/14
14                      Opposition, Hitachi’s 11/26/14 Opposition, Panasonic’s 12/5/14 Opposition.
15

16
            I.      The DAPs’ Motions to Compel Are Procedurally Appropriate
17
                    A. The Motions at Issue are Discovery Motions, Not Evidentiary Motions
18
                    Characterizing the motions at issue here as evidentiary and therefore outside the
19
     scope of the Special Master’s authority, the defendants contend that the court should rule on
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     these issues later, a few weeks before trial. But the DAPs’ motions at issue here are essentially
21
     motions to compel responses to the DAPs’ First Set of Requests for Admissions.
22
                    This order focuses on the proper conduct of discovery, namely defendants’
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     answers to the DAPs’ requests for admission. The defendants’ answers to the DAPs’ Requests
24
     for Admissions are not dispositive as to admissibility and relate only to authenticity and the
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     applicability of the business records exceptions as provided for by FRCP 36. Hence, the present
26
     dispute comes plainly within the province of Title V of the Federal Rules governing disclosures
27
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1    and discovery and the scope of the undersigned’s mandate. Contrary to the defendants’
2    assertions, the undersigned here addresses a discovery dispute and does not make an
3    evidentiary ruling.
4                   Courts have recognized the use of FRCP Rule 36 to request admissions regarding
5    “the genuineness of any described documents,” including the respondent’s own documents,
6    their authenticity and characteristics relevant to the business records exception. See e g, Little
7    Hocking Water Ass’n, Inc v E I Dupont de Nemours & Co, 2013 WL 1791083 (SD Oh 2013).
8                   Rule 36 requires that an answering party’s denial “must fairly respond to the
9    substance of the matter” and if the party denies “only a part of a matter, the answer must
10   specify the part admitted and qualify or deny the rest.” FRCP 36(a)(4). Rule 36 further allows
11   an answering party to assert “lack of knowledge or information as a reason for failing to admit
12   or deny only if the party states that it has made reasonable inquiry and that the information it
13   knows or can readily obtain is insufficient to enable it to admit or deny.” If an answer does not
14   comply with Rule 36, a court may order “either that the matter is admitted or an amended
15   answer be served.” FRCP 36(a)(6).
16                  Based on a careful review of the parties’ submissions, it appears to the
17   undersigned that the defendants have not complied with the requirements of Rule 36 because
18   they have simply denied that certain of their documents meet the criteria for the business
19   records exception under FRE 803(6) when they should have admitted in part and denied in part
20   with respect to each criterion for the business records exception. Having reviewed the
21   submissions, the undersigned further finds that defendants have placed the burden on the
22   DAPs when Rule 36 places the burden on the defendants to make a reasonable inquiry about
23   each business records exception criterion relating to each of their documents subject to the
24   DAPs’ RFA. Defendants have thus failed their discovery obligations.
25

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1
                    B.     The DAPs’ Motions Are Not Barred by the Parties’ Attempted
                           Discovery Agreements
2
                    With respect to the defendants’ assertion that the DAPs’ motions are improper
3
     because the DAPs waived their right to file motions to compel, the undersigned does not agree.
4
     The DAPs and the defendants negotiated, met and conferred, and sought to reach agreements
5
     to resolve their discovery disputes, but have failed to reach agreements due to their failure to
6
     agree on applicable legal standards. It appears to the undersigned that the parties made
7
     agreements based on different understandings of the applicable legal standards and therefore,
8
     there was no meeting of the minds. The DAPs and the defendants assert that the other is using
9
     “an incorrect understanding of the business records exception.” See e g, Hitachi’s Opposition at
10
     7; see also Samsung SDI’s Opposition at 1 (“That litigation adversaries might have different
11
     views on what documents satisfy every component of the business records hearsay exception
12
     should hardly be surprising”); Panasonic’s Motion at 2 (“in contrast to Plaintiffs, Panasonic
13
     Defendants applied Rule 803(6) properly”). Due to the failures of agreement, the DAPs have
14
     moved to compel proper responses to their requests for admission.
15
                    The undersigned finds that the interests of justice and the advancement of fair
16
     and transparent discovery would not be served by recognizing discovery agreements based on
17
     basic misunderstandings that preclude actual agreement. Accordingly, the DAPs’ motions to
18
     compel discovery responses to the DAPs’ Requests for Admission are procedurally appropriate.
19

20
                    C. The DAPs’ Motions Are Not Improper “Joinders”
21
                    The Defendants object to the DAPs’ 11/24/14 and 11/26/14 motions on the
22
     ground that they are improper joinders to the DAPs’ 10/29/14 motion against the Toshiba
23
     defendants and that Samsung SDI, Hitachi and Panasonic should not be bound by any ruling
24
     against Toshiba because these are not “identical discovery dispute[s].” See Samsung SDI’s
25
     Opposition at 2; Hitachi’s Opposition at 7; Panasonic’s Opposition at 1, 8. The undersigned
26

27
     ORDER RE DAPs’ MOTIONS TO COMPEL SAMSUNG SDI, HITACHI AND PANASONIC
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1    agrees that each of the DAPs’ motions should be resolved on the merits of the facts applicable
2    to each defendant and that any ruling with respect to the DAPs’ motion to compel the Toshiba
3    defendants should not be automatically applied to Samsung SDI, Hitachi and Panasonic.
4                   But the undersigned disagrees with defendants’ attempt to characterize the
5    DAPs’ motions here as inconsistent with the footnote in the undersigned’s order regarding the
6    deposition of SDI’s JS Ahn, ECF No 3130: “an opposition to a discovery motion is not an
7    appropriate vehicle for raising a separate and distinct discovery motion. If a party has a
8    discovery dispute, it should file its own motion and provide a written submission in support.”
9    The DAPs’ motions here are separate and distinct discovery motions supported with written
10   submissions.
11                  The DAPs’ motions at issue here shall not be construed as joinders, since they
12   are independent motions to compel based on facts specific to each of the defendants.
13

14                  D. Timeliness of the DAPs’ Motions to Compel
15                  The Samsung SDI defendants assert that the DAPs’ motion to compel is untimely
16   because it was filed “two and a half months after the September 12, 2014 deadline for motions
17   to compel.” Samsung’s Opposition at 2.
18                  Under the Federal Rules of Civil Procedure and the Northern District of California
19   Local Rule 37-3, an untimely motion to compel may be excused for good cause shown. Here,
20   the undersigned finds that the DAPs attempted in good faith to resolve their discovery dispute
21   with Samsung SDI, Hitachi and Panasonic, but that any purported agreements reached were
22   based on a misunderstanding about the applicable law of the business records exception of FRE
23   803(6). As noted above, it would be inappropriate to require the DAPs to comply with a non-
24   agreement from which the DAPs did not receive the benefit of their bargain. Thus, the DAPs’
25   failure to file their motions to compel before the September 2014 deadline should be excused
26   for good cause because the DAPs were attempting to resolve their discovery dispute with
27
     ORDER RE DAPs’ MOTIONS TO COMPEL SAMSUNG SDI, HITACHI AND PANASONIC
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1    defendants without resort to a motion to compel and reasonably believed that the defendants
2    would provide full reasons for their analysis of the business records exception to each of the
3    specified documents. The undersigned also finds good cause in excusing the DAPs’ delay in
4    filing these motions because resolving this dispute will promote discovery and may facilitate
5    proof at trial. See e g, Little Hocking Ass’n, 2013 WL 1791083 at *4-5.
6

7           II.     Whether the Defendants Complied with Applicable Rules
8                   Federal Rule of Civil Procedure 36 governs requests for admissions. The scope of
9    requests for admissions includes “a written request to admit, for purposes of the pending
10   action only, the truth of any matters within the scope of Rule 26(b)(1) relating to: … (B) the
11   genuineness of any described documents.” Thus, by its language, Rule 36 allows requests to
12   admit the genuineness of documents. Therefore, the defendants’ objection that the DAPs seek
13   to switch the burden of proving admissibility to defendants is unpersuasive and incorrect for at
14   least two reasons: (1) Rule 36 expressly allows for such requests for admission and (2) such
15   admissions do not prove admissibility of any document because defendants reserved their
16   rights to object to admissibility on other grounds.
17                  Rule 36 requires that a “denial must fairly respond to the substance of the
18   matter; when good faith requires that a party qualify an answer or deny only a part of a matter,
19   the answer must specify the part admitted and qualify or deny the rest.” Therefore, because
20   the defendants are under a discovery obligation to respond to the DAPs’ requests for
21   admissions, good faith requires that the defendants’ responses to the DAPs’ Request No 7 must
22   break down the requirements of FRE 803(6) and specify any parts admitted and those denied
23   for each document identified by the DAPs.
24                  Rule 36 also specifies that “[t]he answering party may assert lack of knowledge
25   or information as a reason for failing to admit or deny only if the party states that it has made
26   reasonable inquiry and that the information it knows or can readily obtain is insufficient to
27
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1    enable it to admit or deny” (emphasis added). Thus, the answering party must make
2    reasonable inquiry as to each document that the DAPs have identified, with respect to each of
3    the requirements of the business records exception of FRE 803(6) before it can assert lack of
4    knowledge or information. The documents at issue were produced by the defendants, who are
5    in the best position to ascertain information regarding each document. Thus, each defendant
6    must make reasonable inquiry and state that it has done so before it may assert lack of
7    knowledge or information with respect to each aspect of FRE 803(6) as applied to each
8    document identified by the DAPs. Given the situation bar, it should be insufficient for
9    defendants merely to recite that they have made a reasonable inquiry; defendants should
10   specify the nature and extent of their inquiry.
11                  To the extent defendants fail to comply with the requirements of Rule 36, the
12   undersigned recommends that the court may order either that the matter be admitted or that
13   an amended answer be served, pursuant to Rule 36(a)(6) and that the DAPs may renew their
14   motion later, if necessary.
15

16                  A. Samsung SDI Defendants
17                  On November 6, 2014, Samsung SDI sent a draft stipulation that they were
18   willing to enter after “having reviewed in good faith the revised lists of documents” provided by
19   plaintiffs. See Scarborough Dec, Ex 5. The draft Samsung SDI stipulation was based on the
20   parties’ “wish to cooperate in developing an efficient means of addressing the authenticity and
21   status as business records of certain documents in the above captioned litigation” and their
22   “wish to avoid the costs and burdens of discovery to establish the authenticity and status as
23   business records of documents.” Id. The draft Samsung SDI stipulation agreed not to object to
24   the admissibility of any document: (1) listed in Exhibit A on the ground that it is not “authentic”
25   under FRE 901 and 902 or that it is not a “duplicate” of the original, as used in FRE 1001(e) and
26

27
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1    1003; and (2) listed in Exhibit B on the ground that it is not a business record pursuant to FRE
2    803(6). Id. Exhibit B contained 14 documents.
3                   Based on the parties’ submissions, it does not appear that the plaintiffs and the
4    Samsung SDI defendants reached an agreement on resolving the discovery dispute on the
5    adequacy of Samsung SDI’s responses to plaintiffs’ First Set of Requests for Admission, Request
6    Nos 3-7. The undersigned finds that there is no evidence that the Samsung SDI defendants
7    complied with the requirements of FRCP Rule 36 and they should therefore be required to
8    serve amended answers to the plaintiffs’ First Set of Requests for Admission, Requests Nos 3-7
9    no later than 30 days from the date of this order. The Samsung SDI defendants’ response
10   should address each of the 166 documents selected by the DAPs. See Samsung SDI’s
11   Opposition, Dec 1, 2014 at 4.
12

13                  B. Hitachi Defendants
14                  In an attempt to resolve the discovery dispute regarding Hitachi’s responses to
15   plaintiffs’ First Set of Requests for Admission, the plaintiffs decreased the number of
16   documents selected from Hitachi’s production to 137 internal Hitachi documents and 11
17   publicly available Hitachi news releases and SEC filings. See Ex 4 to Hitachi’s Opposition
18   (9/30/14 Gralewski email to Mitchell re Hitachi RFA Compromise). During the course of
19   negotiations, it appears that the DAPs finally selected 155 documents produced by Hitachi for
20   the Hitachi defendants’ review and response. See Hitachi’s Opposition at 2; Ex 4 to Hitachi’s
21   Opposition (Revised Exhibit A to DAPs’ First Set of Requests for Admission to the Hitachi
22   Defendants). Ultimately, Hitachi offered to stipulate to waiving authenticity objections for 128
23   documents and hearsay objections for 10 documents and declined to stipulate to any other
24   documents as authentic under Rules 901 or 902 or as business records under Rule 803(6).
25   Hitachi’s Opposition at 2.
26

27
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1                   A review of Hitachi’s draft stipulation discloses that it offered to waive: (1) any
2    objection to the authenticity under FRE 901 and 902 of the documents listed in Exhibit A and (2)
3    any objection to the admissibility on grounds of hearsay of the documents listed in Exhibit B.
4    See Ex 6 to Hitachi’s Opposition (11/18/14 Draft Hitachi Defendants’ Stipulation re Authenticity
5    and Admissibility). Exhibit A contains a three-page listing of what appears to be Bates-
6    numbered Hitachi documents. Exhibit B is a list of ten documents, all of which are publicly
7    available on Hitachi or government websites and are either Hitachi press releases or Hitachi
8    official filings with the Securities and Exchange Commission.
9                   Based on the parties submissions, the undersigned finds that Hitachi has failed to
10   establish that it has complied with the requirements of FRCP 36 in responding to the DAPs’ First
11   Set of Requests for Admissions, and therefore should serve amended answers to Requests for
12   Admission Nos 3-7, addressing each of the 155 documents selected by the DAPs no later than
13   30 days from the date of this order.
14

15
                    C. Panasonic Defendants
                    The Panasonic Defendants submitted the Plaintiffs’ 8/1/14 First Set of Requests
16
     for Admission and Panasonic’s 11/7/14 Responses to Plaintiffs’ First Set of Requests for
17
     Admission. Ex A and B to Panasonic’s Opposition. Panasonic’s Responses to Requests for
18
     Admission addressed 94 documents. In reviewing Panasonic’s Responses, the undersigned
19
     finds:
20
                    (1)    Panasonic’s answer to Request for Admission No 3 (admit that the
21
                    document was made at or near the time of the event reflected in the document)
22
                    contains a number of bare admissions, admissions that the document has a
23
                    certain date and bare denials. For qualified admissions or partial denials, “the
24
                    answer must specify the part admitted and qualify or deny the rest.” It appears
25                  to the undersigned that the admissions that a document has a certain date is not
26                  a meaningful admission and that Panasonic should conduct a reasonable inquiry
27
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1
                    into why it cannot admit that such a document was made at or near the time of
                    the event reflected in the document. Any denials for lack of information or
2
                    knowledge should be accompanied by an assertion that counsel made a
3
                    reasonable inquiry as is required by FRCP 36(a)(4). Any blanket denials should
4
                    “fairly respond to the substance of the matter” and be accompanied by
5
                    consideration of whether good faith requires qualifying an answer or denying
6
                    only a part of a matter.
7
                    (2)    Panasonic’s answer to Request for Admission No 6 (admit that the
8
                    document was prepared in the regular course of Your business) provides an
9
                    itemized list for the 94 documents, but denies each one either with a blanket
10
                    denial or a denial “for lack of information or knowledge sufficient to admit or
11                  deny.” This answer also does not comply with the requirements of FRCP
12                  36(a)(4).
13                  (3)    Panasonic’s answer to plaintiff’s Request for Admission No 7 comprises
14                  only a series of objections, does not admit or deny anything and does not
15                  provide an itemized response for any of the 94 documents. This answer does
16                  not comply with FRCP 36(a)(4).

17                  (4)    The Panasonic defendants’ answers to Requests for Admission Nos 3-7 do

18                  not comply with FRCP 36(a)(4).

19                  Accordingly, the Panasonic defendants should serve amended answers to

20
     plaintiffs’ Requests for Admission Nos 3-7 no later than 30 days from the date of this order.
     The Panasonic defendants’ response shall address each of the 96 documents identified by the
21
     DAPs. See Panasonic’s Opposition, n 1.
22

23   CONCLUSION

24                  The DAPs’ motions to compel the Samsung SDI, Hitachi and Panasonic

25   defendants to authenticate documents is GRANTED. The parties shall meet and confer to reach

26   agreement on the appropriate legal standard to apply to each aspect of the business records

27
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